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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 PEN AMERICAN CENTER, INC.,
 SARAH BRANNEN, LINDSAY
 DURTSCHI, on behalf of herself and
 her minor children, BENJAMIN
 GLASS, on behalf of himself and his
 minor child, GEORGE M.
 JOHNSON, DAVID LEVITHAN,
 KYLE LUKOFF, ANN
 NOVAKOWSKI, on behalf of herself
 and her minor child, PENGUIN
 RANDOM HOUSE LLC, SEAN
 PARKER, on behalf of himself and
 his minor child, ASHLEY HOPE
 PÉREZ, ERICA ROY, on behalf of               CASE NO.: 3:23-CV-10385-TKW-ZCB
 herself and her minor children, and
 CHRISTOPHER SCOTT
 SATTERWHITE, on behalf of
 himself and his minor child,

         Plaintiffs,

  vs.

  ESCAMBIA COUNTY SCHOOL
  BOARD,

         Defendant.
                                          /

             DEFENDANT’S RESPONSE IN OPPOSITION TO
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Defendant, Escambia County School Board (“Board”), responds to Plaintiffs’

Motion for Preliminary Injunction, [D.E. 87 (“Motion”)], and states:
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      I.      INTRODUCTION

           On May 17, 2023, Plaintiffs sued the Board for alleged First Amendment

violations. [D.E. 1]. On July 1, 2024—almost 14 months later—Plaintiffs PEN

American Center, Inc. (“PEN”) and Sean Parker (“Plaintiffs”) filed their Motion

asking the Court order the Board restore seven currently restricted books to the

shelves of the Escambia County School District’s (“District”) libraries. Motion at 1.

Plaintiffs argue their Motion is limited to these books because there is allegedly “no

reasonable argument” they have been challenged on the basis they “depict[] or

describe[] sexual conduct as defined” in section 847.001(19), Florida Statutes. Id. at

15.

           Plaintiffs are incorrect. These books are currently restricted because the

District has determined they contain “sexual conduct” as defined by section

1006.28(2)(a)2.b.(II), Florida Statutes, i.e., House Bill 1069 (2023) (“HB 1069”).

See Declaration of Bradley Vinson ¶¶ 37-77, attached as Exhibit A (“Vinson

Declaration”). No final decision on the status of these seven books has been made

by the Board because 1,036 titles out of the 468,670 in the District’s total collection

remain on the HB 1069 list for further review, including at least 176 titles that have

received requests for reconsideration/challenges. Id. ¶ 31. Plaintiffs’ focus on

outdated policies and purported improper motives are irrelevant to the issue before

the Court—the current restriction of these seven books.

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      In this lawsuit Plaintiffs challenge actions by the Board that occurred prior to

July 1, 2023, [D.E. 27 ¶ 69 n.4]; namely, Plaintiffs claim they do not seek an

injunction regarding books restricted pursuant to HB 1069, Motion at 2 n.1, which

took effect on July 1, 2023. But Plaintiffs’ Motion is nonsensical because, with the

real world passage of time, that is what they seek.

      Plaintiffs have walked headfirst into HB 1069. Plaintiffs filed the Motion

before they took a single deposition, instead relying on written discovery and

inadmissible hearsay from meet and confer conferences with undersigned counsel

regarding this discovery. Plaintiffs misunderstand the fluid and complex processes

existing within the District from July 2022 through present to comply with changing

Florida laws concerning library books.

      While this case purportedly is not about the Board’s compliance with HB

1069, the Board has included the Declaration of its Coordinator of Media Services,

Bradley Vinson, to explain how Board policy regarding HB 1069 resulted in the

restriction of the seven books. E.g., Vinson Decl. ¶¶ 18-23, 25-28, 32, 37-77.

Although undersigned counsel explained this to Plaintiffs, the thrust of their Motion

is Plaintiffs’ disagreement the Board properly applied HB 1069 to these books and

that this somehow proves their allegations of viewpoint discrimination and entitles

Plaintiffs to an injunction.




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            Plaintiffs’ Motion should be denied. First, Plaintiffs lack standing to sue on

behalf of these seven books. Second, Plaintiffs’ First Amendment claims fail

because the decision of what books to have on school library shelves is government

speech and the Board has legitimate pedagogical reasons for restricting these books.

Third, Plaintiffs failed to demonstrate Monell liability. Fourth, the policy Plaintiffs

seek to enjoin is defunct, mooting their claims. Fifth, Plaintiffs failed to show

irreparable harm. Finally, the balance of harms and public interest favor the Board.

The Court should deny Plaintiffs’ Motion on its face as a matter of law. However,

should the Court determine Plaintiffs plausibly alleged their burden as to the

elements of a preliminary injunction, the Court should order an evidentiary hearing

given the existence of bitterly disputed facts.1

      II.      MEMORANDUM OF LAW

               A. Plaintiffs Lack Article III Standing

            Federal courts have an independent obligation to ensure subject-matter

jurisdiction exists before reaching the merits of a dispute. Jacobson v. Fla. Sec’y of

State, 974 F.3d 1236, 1245 (11th Cir. 2020). Those seeking to invoke a federal

court’s jurisdiction must satisfy Article III’s threshold requirement by “alleging an

actual case or controversy.” City of Los Angeles v. Lyons, 461 U.S. 95, 101 (1983).

To satisfy this requirement, “the plaintiff must have a personal stake in the case.”


1
    The Board is filing a separate motion requesting an evidentiary hearing on Plaintiffs’ Motion.
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TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021) (cleaned up). “[S]tanding is

not dispensed in gross; rather, plaintiffs must demonstrate standing for each claim

that they press and for each form of relief that they seek (for example, injunctive

relief and damages).” Id. at 431. Standing requires a plaintiff to “allege and prove

that the personal injury” is fairly traceable to the defendant’s allegedly unlawful

conduct. Fla. Ass’n of Med. Equip. Dealers, Med-Health Care v. Apfel, 194 F.3d

1227, 1230 (11th Cir. 1999).

      Plaintiffs imply this Court already adjudicated the matter of their standing.

Motion at 25-27. Not so. The Court’s “denial of the [Board’s] initial motion to

dismiss [regarding standing] was not a final judgment,” and is not law of the case,

which only applies “where there has been a final judgment.” Vintilla v. United States,

931 F.2d 1444, 1447 (11th Cir. 1991) (cleaned up).

                 i. PEN Lacks Standing

                       a. Organizational Standing

      PEN argues it has organizational standing based on its diversion of resources.

Motion at 25-26. Namely, PEN asserts “[a]s a consequence of efforts in Escambia

County to remove books,” PEN “has expended significant resources and time to

addressing these book [restrictions and removals] and has diverted resources away

from its other priorities.” Id. at 3. PEN details supposed actions it has been forced to

take in response to actions within the District to establish its standing. Id. at 3. PEN

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relies on a declaration submitted by its Chief Program Officer, Free Expression

Programs. [D.E. 87-3 (“Lopez Declaration”)].2

        The Lopez Declaration shows PEN does not have standing to sue; it states

PEN has, “[a]s a consequence of efforts in Escambia County and elsewhere,” hired

full-time staff to track and report on book removals/restrictions, supported author

members with concerns about their books, and responded to queries from individuals

about book removals/restrictions. Id. ¶ 7. PEN has purportedly diverted staff and

hired four new staffers to work on these tasks. Id. ¶¶ 7-8. PEN claims at least seven

staff members were diverted from their prior work to focus on Escambia County. Id.

¶ 11.

        The Supreme Court recently clarified the limits of organizational standing,

finding organizations may have standing to sue on behalf of injuries they sustain.

See Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 393 (2024)

(“FDA”) (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 n.19 (1982)).

However, organizations must still satisfy Article III’s requirements that apply to

individuals. Id. at 393-94. “[A]n organization may not establish standing simply

based on the intensity of the litigant’s interest or because of strong opposition to the

government’s conduct, no matter how longstanding the interest and no matter how



2
  The Board has set Lopez for deposition on August 1, 2024. The Board may request leave to
supplement this Response with her deposition transcript in support of the arguments made herein.
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qualified the organization.” Id. at 394 (cleaned up). An organization must show more

than setbacks to its abstract social interests and cannot assert standing because it

merely objects to governmental action. See id. (citing Havens, 455 U.S. at 379).

      PEN’s organizational standing is premised on the flawed idea “standing exists

when an organization diverts its resources in response to a defendant’s actions.” Id.

at 395; e.g., Motion at 3 (stating PEN “has expended significant resources and time”

based on actions in Escambia County and elsewhere “and has diverted resources

away from its other priorities”); id. at 25-26 (detailing PEN’s diversion of resources).

PEN’s diversion of resources theory “is incorrect.” FDA, 602 U.S. at 395. “[T]hat

theory would mean that all the organizations in America would have standing to

challenge almost every [government] policy that they dislike, provided they spend a

single dollar opposing those policies.” Id. But an organization “cannot spend its way

into standing simply by expending money to gather information and advocate

against the defendant’s action,” and “cannot manufacture its own standing in that

way.” Id. at 394.

      The inquiry is whether the organization has suffered a concrete injury. For

example, in Havens, the organization had standing because the defendant “had

provided [the organization’s] black employees false information about apartment

availability.” Id. at 395 (citing Havens, 455 U.S. at 366 & n.1, 368). And because its




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employees were given false information, this “directly affected and interfered with

[the organization’s] core business activities.” Id.

       “That is not the kind of injury that [PEN] ha[s] alleged here.” Id. The Lopez

Declaration admits PEN’s standing is premised on diverting its resources—i.e.,

diverting financial resources to hire new staff and diverting existing staff—to

address actions taken in Escambia County and elsewhere. Nowhere, however, does

the Lopez Declaration state any actions by the Board—much less the restriction of

these seven books—have impeded PEN’s “core business activities.” Id.; see also

Jacobson, 974 F.3d at 1250 (finding testimony did not explain what activities the

organization would divert resources away from, thus testimony failed to establish

injury based on diversion of resources).

       At best, the Board’s actions have disrupted PEN’s advocacy efforts, for which

PEN has supposedly diverted resources to address. But FDA makes clear advocacy

(and money spent advocating) is not a core business activity. 602 U.S. at 394.

Plaintiffs presented no evidence demonstrating restricting these seven books pending

the challenge process resulted in any injury to PEN.3



3
  The Lopez Declaration amalgamates PEN’s diversion of resources taken due to actions in
Escambia County “and elsewhere.” An “injury must be fairly traceable to the challenged action of
the defendant, and not the result of the independent action of some third party not before the court.”
Ga. Ass’n of Latino Elected Offs., Inc. v. Gwinnett Cnty. Bd. of Registration & Elections, 36 F.4th
1100, 1115 (11th Cir. 2022) (cleaned up). PEN cannot assert standing based on actions done
“elsewhere,” especially when the “elsewhere” location(s) is/are not identified or defined, and the
ratio of resources diverted to address actions in Escambia County versus “elsewhere” is similarly
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                          b. Associational Standing

       PEN claims associational standing through its member Laurie Halse

Anderson. Motion at 26-27. However, Anderson is not a party to this suit, nor has

she submitted her own declaration establishing her standing; rather, she relies on the

Lopez Declaration to establish her standing secondhand. Lopez Decl. ¶ 6. Given

Plaintiffs’ “heavy burden” in seeking a preliminary injunction, Diaz v. Bd. of Cnty.

Comm’rs of Dade Cnty., 502 F. Supp. 190, 192 (S.D. Fla. 1980), PEN’s bald

assertions concerning Anderson are insufficient to satisfy Article III.4

       And even assuming Anderson has standing, she is the author of only one of

the books subject of Plaintiffs’ Motion. PEN’s associational standing would solely

be to Speak, the book Anderson authored. Plaintiffs must prove their allegations of

standing for each book in their Motion. Apfel, 194 F.3d 1227, 1230 (11th Cir. 1999);

Murthy v. Missouri, 144 S. Ct. 1972, 1986 (2024) (“Where, as here, the parties have

taken discovery, the plaintiff cannot rest on ‘mere allegations,’ but must instead

point to factual evidence.”). Standing is not dispensed in gross. TransUnion, 594

U.S. at 431.


unexplained. Such bare allegations do not satisfy Plaintiffs’ burden of proving standing. Apfel, 194
F.3d at 1230.
4
 Anderson’s disputed standing creates bitterly disputed facts requiring an evidentiary hearing. See
McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1311 (11th Cir. 1998). Alternatively, there is
“much dispute as to the inferences to be drawn from the raw facts” of this case concerning
Anderson and PEN’s standing. Cumulus Media, Inc. v. Clear Channel Commc’ns, Inc., 304 F.3d
1167, 1178 (11th Cir. 2002) (cleaned up).
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                  ii. Parker Lacks Standing

      Parker lacks standing on his own behalf and on behalf of his son M.P. As this

Court recognized, “it is unlikely that the Parent Plaintiffs will have standing in their

own right” “simply because they want certain books to be in school libraries for one

reason or another.” [D.E. 65 at 3 n.5]. But it is exactly upon this “want” Parker—in

his own right—claims standing. Parker claims standing because he would “like the

book [The Hate U Give] to be available to M.P. in his school library and would like

M.P. to check the book out from his school library.” Motion at 5. Parker has

submitted a declaration averring this nebulous intent. [D.E. 87-2 (“Parker

Declaration”)].

      Parker’s freestanding “want” is not sufficient for Article III standing, as this

Court acknowledged. [D.E. 65 at 3 n.5]; Lujan v. Defs. of Wildlife, 504 U.S. 555,

562-63 (1992). Parker has no independent right to visit the Board’s libraries.

Compare Vinson Decl. ¶ 36, with Am. Civil Liberties Union of Fla., Inc. v. Miami-

Dade Cnty. Sch. Bd., 557 F.3d 1177, 1195 (11th Cir. 2009) (“ACLU”) (noting school

board’s policy allowed parents the right to visit the library). Because Parker’s claims

of injuries do not rise above his own wants, he has no individual standing.

      Plaintiffs do not seriously attempt to establish Parker’s standing, arguing

instead the Court need not decide it at this time. Motion at 27 n.20. This is incorrect.

Standing is a threshold inquiry, E.F. Hutton & Co. v. Hadley, 901 F.2d 979, 983

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(11th Cir. 1990), without which Plaintiffs cannot succeed. Murthy, 144 S. Ct. at 1986

(“At the preliminary injunction stage, then, the plaintiff must make a ‘clear showing’

that she is ‘likely’ to establish each element of standing.”).

        Parker also cannot satisfy Article III’s requirements for M.P. His declaration

simply avers M.P. “has expressed an interest in checking out and reading The Hate

U Give from his school library.” Motion at 4 (citing Parker Decl. ¶ 4). There are no

allegations M.P. intended to check out The Hate U Give either in the past or during

the upcoming school year. [D.E. 65 at 3]. Nor could there be, because The Hate U

Give was not available at M.P.’s school, either in the past or currently.5 Vinson Decl.

¶ 63.

        M.P.’s standing also fails against circuit precedent. Unlike in ACLU, where

the student’s parent’s declaration professed he “anticipated checking out [the book]”

when school resumed, i.e., “a specific intention pegged to a sufficiently fixed period

of time,” 557 F.3d at 1194, the Parker Declaration contains no such specific

intentions. M.P. simply provided his father the kind of someday intention Lujan

holds is insufficient. 504 U.S. at 562-63. The book the Parker Declaration claims

M.P. wants to check out does not even align with Plaintiffs’ pleading. Compare

Parker Decl. ¶ 4, with [D.E. 27 ¶ 183 (alleging M.P. wants to check out The Freedom



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  To protect M.P.’s identity, his school is not identified. The Board will provide such details, should
the Court request.
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Writers Diary and Concrete Rose)]. Plaintiffs cannot fall back upon their pleadings

to establish M.P.’s standing at this stage.6 Murthy, 144 S. Ct. at 1986.

           B. Plaintiffs Have Not Met Their Burden for a Preliminary Injunction

       A preliminary injunction is “an extraordinary and drastic remedy” requiring

the movant to “clearly establish the burden of persuasion.” Siegel v. LePore, 234

F.3d 1163, 1176 (11th Cir. 2000) (cleaned up). The moving party must show “(1) it

has a substantial likelihood of success on the merits; (2) irreparable injury will be

suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party;

and (4) if issued, the injunction would not be adverse to the public interest.” Id. A

preliminary injunction is the “exception rather than the rule.” Florida v. Dep’t of

Health & Hum. Servs., 19 F.4th 1271, 1286 (11th Cir. 2021).

                  i. No Substantial Likelihood on the Merits

                         a. The Decision to Restrict School Library Books Is
                            Government Speech

       Plaintiffs do not have a First Amendment right to have certain books available

in a school library. See, e.g., United States v. Am. Libr. Ass’n, 539 U.S. 194, 206

(2003) (“ALA”). The shelves of a public school library are not fora for private speech



6
  The vague statements in Plaintiffs’ Declarations show any adjudication of Plaintiffs’ Motion
should be deferred until the Board deposes Parker and M.P., whose depositions are set for August
6, 2024. The Board may seek leave to supplement the record with their deposition transcripts.
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and the Board’s decision to restrict certain books pending the challenge review

process is government speech, not subject to First Amendment scrutiny.

      As the Eleventh Circuit recently summarized:

      The First Amendment works as a shield to protect private persons from
      encroachments by the government on their right to speak freely, not as
      a sword to compel the government to speak for them. In other words,
      the Free Speech Clause of the First Amendment restricts government
      regulation of private speech; it does not regulate government speech.
      That is, a government entity has the right to speak for itself, which
      consists generally in the ability to say what it wishes and to select the
      views that it wants to express.

Leake v. Drinkard, 14 F.4th 1242, 1247 (11th Cir. 2021) (cleaned up). When the

government speaks, it may refuse to endorse or freely remove speech which it

disapproves. Id. at 1248 (citing Mech v. Sch. Bd. of Palm Beach Cnty., 806 F.3d

1070, 1074 (11th Cir. 2015)). Government speech is regulated by “the political

process,” not the Constitution. Bd. of Regents of Univ. of Wis. Sys. v. Southworth,

529 U.S. 217, 235 (2000).

      The Supreme Court has long recognized schools, at times, stand in loco

parentis (i.e., in the place of parents) with respect to their students. Mahanoy Area

Sch. Dist. v. B.L. ex rel. Levy, 594 U.S. 180, 187 (2021). The selection of age-

appropriate library materials is in line with this well-established doctrine: Florida

Statutes make plain the Board’s supervisory duty over District students extends to

the selection of library materials. See § 1006.28(2)(a)1., Fla. Stat. (“The district

school board has the constitutional duty and responsibility to select and provide
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adequate instructional materials for all students in accordance with the requirements

of this part,” including the “content of materials made available in a school or

classroom library.” (cleaned up)); see also id. § 1006.40(3)(c) (stating library

materials must be: “1. [f]ree of pornography and material prohibited under s.

847.012; 2. [s]uited to student needs and their ability to comprehend the material

presented; [and] 3. [a]ppropriate for the grade level and age group for which the

materials are used or made available”)

      As a result, the decision as to which books are available on the shelves of a

school library reflects the Board’s constitutional duty as well as Florida law, and

thus the decision to restrict the seven books pending the challenge review process is

government speech. See Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.

819, 833 (1995) (“When the University determines the content of the education it

provides, it is the University speaking, and we have permitted the government to

regulate the content of what is or is not expressed.”). In public schools, “expression

delivered directly through the government or indirectly through private

intermediaries” is government speech, and the school “is free to make subject-

matter-based choices.” Bannon v. Sch. Dist. of Palm Beach Cnty., 387 F.3d 1208,

1213 (11th Cir. 2004).

      Plaintiffs’ reliance on Board of Education v. Pico, 457 U.S 853, 870 (1982),

to establish a First Amendment right to access certain books in a school library is

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misplaced. See [D.E. 27 ¶¶ 3, 37, 225]. Not only does Pico not govern, it lacks

“precedential value as to the application of the First Amendment to these issues” and

“establishes no standard.” ACLU, 557 F.3d at 1200 (citation omitted).

      Further, post-Pico developments show Pico’s plurality should, at a minimum,

be narrowly construed. Since Pico, courts have recognized public libraries are not

public forums for private speech because “the government speaks through its

selection of what books to put on the shelves and which books to exclude.” PETA,

Inc. v. Gittens, 414 F.3d 23, 28 (D.C. Cir. 2005); ALA, 539 U.S. at 207. The First

Amendment does not override a state’s discretion to select materials based on

content and viewpoint, see Gittens, 414 F.3d at 29, and that analysis does not change

based on the forum. Walker v. Tex. Div., Sons of Confederate Veterans, Inc., 576

U.S. 200, 215 (2015) (“When the government speaks, it is not barred by the Free

Speech Clause from determining the content of what it says.”).

      Pico’s narrow view of the right to remove books from libraries predates the

Supreme Court’s explanation of the government-speech doctrine, which took on

fuller shape after Rosenberger. 515 U.S. at 819. Courts have since concluded forum

analysis does not apply to public libraries due to the discretionary nature of their

mission. ALA, 539 U.S. at 204, 213 n.7. And the Eleventh Circuit has reiterated

government speech includes the freedom “not to speak” and to “‘speak through the




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removal’ of speech that the government disapproves.” Mech, 806 F.3d at 1074

(quoting Downs v. L.A. Unified Sch. Dist., 228 F.3d 1003, 1012 (9th Cir. 2000)).

      The Eleventh Circuit applies a three-factor analysis to determine whether

speech constitutes government speech, although none are “individually or jointly

necessary” to support such a finding. Gundy v. City of Jacksonville, 50 F.4th 60, 76-

77 (11th Cir. 2022). The first factor is “whether the type of speech under scrutiny

has traditionally communicated messages on behalf of the government.” Id. at 77

(citing Cambridge Christian Sch., Inc. v. Fla. High Sch. Athletic Ass’n, 942 F.3d

1215 (11th Cir. 2019)). The second is “whether the kind of speech at issue is often

closely identified in the public mind with the government.” Id. at 78. The final factor

is “whether the relevant government unit maintains direct control over the messages

conveyed through the speech in question.” Id. at 79.

                       1.     History

      The first factor weighs in favor of restricting school library books as

government speech. Libraries have traditionally existed as a channel for

communicating the written word to facilitate research, learning, and recreational

pursuits, rather than as a “forum for the authors of books to speak.” ALA, 539 U.S.

at 206. And for nearly 140 years the State of Florida has enshrined the right to public

free schools for its citizens, and at one point even explicitly provided for expenditure

of funds “for the purchase of school libraries and textbooks.” Art. XII, § 11, Fla.

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Const. (1885).7 Further, the Board’s policy on the issue—Policy 4.06—was adopted

more than 30 years ago, and the primary law upon which it is based was created

more than 20 years ago. See Ch. 2002-387, § 303, Laws of Fla. (creating section

1006.28, Florida Statutes, requiring district school boards to “[e]stablish and

maintain a program of school library media services”).8

       Accordingly, the first factor weighs in the Board’s favor. Since school boards

have long had the authority to maintain and curate the content within public school

libraries in Florida, these libraries have traditionally communicated messages on

behalf of the government. McGriff v. City of Miami Beach, 84 F.4th 1330, 1335 (11th

Cir. 2023); see also Cambridge Christian, 942 F.3d at 1232.

                          2.      Endorsement

       The endorsement factor asks whether the speech is closely identified with the

government. Cambridge Christian, 942 F.3d at 1232. The Eleventh Circuit has

found activities “‘observers would interpret [as] promoted, organized, and funded

by the government as conveying some message on [its] behalf,’ as ‘[government

entities] typically do not organize and fund events that contain messages with which

they do not wish to be associated.’” McGriff, 84 F.4th at 1336 (second alteration in



7
     Publicly    available       at:     http://library.law.fsu.edu/Digital-Collections/CRC/CRC-
1998/conhist/1885con.html.
8
 Florida law has provided similarly for even longer. See Logan v. Bd. of Pub. Instr. for Polk Cnty.,
158 So. 720 (Fla. 1935).
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original) (quoting Leake, 14 F.4th at 1250). Observers would interpret school

libraries maintained, organized, and funded by the Board as “conveying some

message” on its behalf. See, e.g., Mech, 806 F.3d at 1076 (finding banners hung on

government-owned school fences often closely identified the public mind with the

government unit that owns the land); see also Gundy, 50 F.4th at 78-79 (ruling “City

Council’s invocation can be closely identified in the public mind with the

government because the City Council organizes that invocation, it provides the

venue for the invocation, it selects the speaker for the invocation, and then it begins

its business meeting”). The books in the Board’s libraries bear its imprimatur

through their location on the shelves; they also include either a barcode, property

stamp, or both indicating they are property of the school in which the book is kept.

Vinson Decl. ¶ 36. This imprimatur indicates they are Board property. Id.; §

1001.42(2), Fla. Stat.

      And, even though the seven books at issue were authored by private parties,

“that a private party takes part in the propagation of a message does not extinguish

the governmental nature of the message or transform the government’s role into that

of a mere forum-provider.” Gundy, 50 F.4th at 79 (internal quotations omitted).

When a school makes certain books available on its library shelves to be read by its

students, it is conveying the message it has approved these books as age-appropriate

and suitable for those students who patronize the library. Even though the books are

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authored by others, the Board speaks through the decision as to what books to

maintain on its school library shelves. The endorsement factor is met here.

                       3.    Control

      The control factor looks at “whether the relevant government unit ‘maintains

direct control over the messages conveyed’ through the speech in question.”

Cambridge Christian, 942 F.3d at 1234 (quoting Walker, 576 U.S. at 213). The

Eleventh Circuit has held “no case precedent says that the government must control

every word or aspect of speech in order for the control factor to lean toward

government speech.” Gundy, 50 F.4th at 79 (citing Cambridge Christian, 942 F.3d

at 1235-36) (finding city exerted control over message conveyed by speakers

because inviting speakers to give invocations inherently exhibits government control

from outset of selection process); see also McGriff, 84 F.4th at 1334 (city controlled

art installation and painting because “it contracted to commission and fund the

artists’ work; to control its exhibition, including by subjecting the art to the City

Manager’s approval; and to provide the space in which the exhibition was housed”)

      The Board controls the materials within its libraries because it provides and

controls the library space itself: it purchases and takes ownership of the books and

materials within, and subjects those materials to Board approval. See McGriff, 84

F.4th at 1334. “Having bought the [book], the [Board’s] decision to display it [and

make available for selection], or not display it, was classic government speech.” Id.

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Plaintiffs do not identify any agreement between the authors and the Board by which

the authors retain control over what the Board may and may not do with their book

once purchased. That is because no such agreement exists, and once a book is

purchased, it becomes the prerogative of the Board to do with it—including whether

to select or deselect it for availability—as it chooses. All three factors weigh in favor

of the Board’s actions serving as government speech.

                       b. The Board Has Legitimate Pedagogical Reasons for the
                          Restriction of the Seven Books

      Plaintiffs are additionally unlikely to succeed on the merits of their claim

because the decision to restrict the seven books pending the challenge review process

was based on legitimate pedagogical reasons. Hazelwood Sch. Dist. v. Kuhlmeier,

484 U.S. 260, 267 (1988).

      The First Amendment rights of students in the public schools “are not

automatically coextensive with the rights of adults in other settings,” Bethel Sch.

Dist. No. 403 v. Fraser, 478 U.S. 675, 682 (1986), and must be “applied in light of

the special characteristics of the school environment.” Tinker v. Des Moines Indep.

Cmty. Sch. Dist., 393 U.S. 503, 506 (1969). A school need not tolerate student speech

inconsistent with its “basic educational mission,” even though the government could

not censor similar speech outside the school. Hazelwood, 484 U.S. at 267 (quoting

Fraser, 478 U.S. at 685).


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       The Supreme Court held in Fraser a student could be disciplined for having

delivered a speech that was “sexually explicit”—but not legally obscene—at an

official school assembly, because the school was entitled to “disassociate itself”

from the speech in a manner that would demonstrate to others that such vulgarity is

“wholly inconsistent with the ‘fundamental values’ of public school education.” 478

U.S. at 685-686. The Supreme Court further recognized “[t]he determination of what

manner of speech in the classroom or in school assembly is inappropriate properly

rests with the school board,” id. at 683, rather than the federal courts.

       Plaintiffs’ Motion cannot succeed because the Board has a legitimate

pedagogical interest in restricting the books at issue pending the challenge process.

The Board’s current Policy states “[p]ersonnel holding responsibility for evaluation

and selection of educational materials should reexamine” these materials

periodically to ensure they meet selection criteria; one basis for removing materials

includes “required removal pursuant to s. 1006.28(2)(a)2., F.S.” Board Pol’y 4.06 §

9.D.8., attached as Exhibit B. This is in line with Florida law, which requires every

book made available in a school district library “must be selected by a school district

employee who holds a valid educational media specialist certificate.” §

1006.28(2)(d)1., Fla. Stat.9; see Vinson Decl. ¶¶ 16-17, 20, 24, 26.



9
 As required by House Bill 1467 (2022) (“HB 1467”). See June 3, 2022 Memorandum, Fla. Dep’t
of Educ., attached as Exhibit C.
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          Under section 1006.28(2)(a)2.b.(II), Florida Statutes, any book which depicts

or describes sexual conduct as defined in section 847.001(19), Florida Statutes, shall

be discontinued for any grade level or age group for which such use is inappropriate

or unsuitable. Vinson Decl. ¶¶ 18-21, 25. Plaintiffs’ Motion concerns seven books.

Motion at 14-17. As explained below and in the Vinson Declaration, all seven are

subject to restriction based on section 1006.28(2)(a)2.b.(II)—i.e., HB 1069. Vinson

Decl. ¶¶ 37-77; see also id. at Exs. 3-9 (including portions of books subjecting them

to restriction).

          By law, the Florida Department of Education requires district librarians and

media specialists to complete a training program. § 1006.28(2)(d), Fla. Stat.; see also

Fla. Admin. Code R. 6A-7.0715. This training makes clear, in selecting materials

which are suited to student needs and appropriate for age and grade level, district

staff are to “[e]rr on the side of caution.” See Library Media & Instructional

Materials Training, Fla. Dep’t of Educ. at 11, attached as Exhibit D.10 And this

training emphasizes the need for districts’ objection processes to allow stakeholders

to object on the basis of HB 1069, i.e., that a book “[d]epicts or describes sexual

conduct,” as defined in section 847.001(19), Florida Statutes. Id. at 12. A

memorandum from the Florida Department of Education reinforces this by clearly

stating any book made available in a school library “may not contain content that”


10
     As the training notes, it is effective July 2024.
                                                    22
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runs afoul of section 1006.28(2)(a)2.b.(II).11 See Oct. 13, 2023 Memorandum, Fla.

Dep’t of Educ., attached as Exhibit E.

        Plaintiffs argue HB 1069 is not applicable to these books and that it does not

warrant District-wide restriction of the books. Motion at 22-25. This is illogical. HB

1069 is the law of the State of Florida. The Board, as required by law, incorporated

HB 1069 (through section 1006.28(2)(a)2.b.(II)) into Policy 4.06. Vinson Decl. ¶¶

18-19, 22-23, 25. It is inconsistent for Plaintiffs to argue that these books were not

challenged on the basis they violated section 847.001(19), Motion at 23, when the

legal mandate that this kind of material be restricted did not yet exist. Compare id.

at 16 (listing book challenges as occurring in August and September 2022 and March

2023), with HB 1069 (approved by governor on May 17, 2023, listing effective date

of July 1, 2023).

        It was literally impossible for the challengers to these seven books to have

challenged them on the basis they depicted or described impermissible sexual

conduct unless they could see the future in which HB 1069 became law. Moreover,

Plaintiffs concede “several of the challenge forms” did include “sexual” terms.

Motion at 23. Simply because the challengers did not invoke the magic words of a




11
  The interplay between HB 1467 and HB 1069 is therefore clear: as of July 1, 2023 any book
made available to students in a school district library must be selected by a trained media specialist
who has determined the book does not depict or describe sexual conduct, as defined by law.
                                                 23
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law not yet in existence does not preclude the District from independently relying

on said law when fulfilling its statutory obligations.

        Further, this Court recognized it was skeptical of the relief which could be

granted for books restricted under section 1006.28(2)(a)2.b.(II)’s prohibition on any

impermissible sexual conduct. [D.E. 65 at 8 n.12]. And while the Court was

concerned by potential de facto removals, as demonstrated in Vinson’s Declaration,

the decision to restrict these books was “justified by actual evidence of a legitimate

pedagogical reason under § 1006.28(2)(a)2.b.” Id. (emphasis added); see Vinson

Decl. ¶¶ 37-77. As such, Plaintiffs cannot succeed on the merits because HB 1069

provides a separate basis for restriction, a basis this Court recognized amounts to “a

legitimate pedagogical reason for the [Board] to restrict access to the book.” [D.E.

65 at 8 n.12].

        In addition, Plaintiffs are not likely to succeed on the merits because they have

not explained how the decision to restrict these books constitutes viewpoint

discrimination.12 Plaintiffs fail to explain the viewpoint or ideas purportedly being

discriminated against by the Board through the restriction of these seven specific

books. And, undercutting any argument that the viewpoint is related to LGBTQ

characters, many books challenged on the basis of LGBTQ characters and themes



12
  HB 1069 is, on its face, viewpoint-neutral, applying to all sexual conduct. See Vinson Decl. ¶¶
20, 32.
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are currently unrestricted. Compare [D.E 27 ¶¶ 85-86 (alleging restrictions of Uncle

Bobby’s Wedding and Milo Imagines the World)], with Motion at 11 n.6 (conceding

these two titles are currently unrestricted), and [D.E. 87-1 ¶ 2 (referencing District

Reconsideration Spreadsheet where those two titles are currently unrestricted)].

      Plaintiffs cannot find solace in Pico’s fractured judgment, whose plurality

explained school library materials may not be removed “in a narrowly partisan or

political manner.” 457 U.S. at 870. But there is nothing partisan about restricting

books containing depictions and descriptions of sexual content from school libraries.

The example Pico feared was a “Democratic school board, motivated by party

affiliation, order[ing] the removal of all books by or in favor of Republicans.” Id. at

871. That is unlike the content choices here, which ensure school libraries contain

age-appropriate books. The restriction of these books, pursuant to Florida Statutes,

takes no partisan or viewpoint stance. See § 1006.28(2)(a)2.b.(II), Fla. Stat. And the

Legislature’s role in setting those standards, see Ex. E, is “consistent with” the

responsibility of the proper decisionmakers for children: “the Nation’s youth is

primarily the responsibility of parents, teachers, and state and local school officials,

and not of federal judges.” Hazelwood, 484 U.S. at 273.

                       c. Plaintiffs Have Not Shown Monell Liability

      As a condition of agency liability, Monell v. Department of Social Services of

City of New York, 436 U.S. 658 (1978), and its progeny require the actions of a final

                                          25
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decisionmaker, or an agency custom, policy, or practice be the driving force behind

the constitutional harm. Entities like the Board can only be liable under 42 U.S.C. §

1983 if they have final decisionmaking authority over the challenged action.

Hoefling v. City of Miami, 811 F.3d 1271, 1279 (11th Cir. 2016).

      The Board is the policymaking body and final decisionmaker for the District.

§§ 1001.41, 1001.42, Fla. Stat. The Board may not be liable under section 1983 for

unconstitutional acts of its employees under a respondeat superior theory. Holloman

ex rel. Holloman v. Harland, 370 F.3d 1252, 1290 (11th Cir. 2004). Rather, Plaintiffs

must identify an express policy or a widespread practice that is so permanent and

well-settled as to constitute a custom and usage with the force of law. Cuesta v. Sch.

Bd. of Miami-Dade Cnty., 285 F.3d 962, 966 (11th Cir. 2002).

      There has been no decision on the seven books at issue by the Board. Rather,

these books have been restricted by the Coordinator of Media Services based on her

determination the seven challenged books contain “sexual conduct,” as defined by

section 847.001(19). Vinson Decl. ¶ 39. This determination has not yet been

reviewed, or approved, by the Board.

      Plaintiffs state they are not seeking the immediate return of books that have

been challenged on the basis they depict or describe sexual conduct as defined in

section 847.001(19). Motion at 2 n.1. Plaintiffs further argue these seven books were

not challenged on that basis and therefore should be returned. Id. at 23. But

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Plaintiffs’ argument is essentially that the Coordinator of Media Services is acting

outside the policy by impermissibly restricting books even when the challenge form

does not reference section 847.001(19). If that is the case, then Plaintiffs must

concede her acts are not based on Board policy. And, because there is no evidence

the Board has reviewed these decisions, Plaintiffs cannot argue such allegedly

impermissible restrictions were somehow ratified by the Board.

                       d. Plaintiffs Challenge a Defunct Policy and Practice

      Plaintiffs also cannot succeed to the extent they challenge a defunct policy or

practice regarding book restrictions. Motion at 6-8. To give credence to Plaintiffs’

claims would require the Court to stop the clock and find the Board liable for a policy

no longer in existence and enjoin said defunct policy. This cannot be, as the policy

which matters now for purposes of Plaintiffs’ likelihood of success in obtaining an

injunction is the Board’s current policy governing maintenance of its libraries,

including book removals and restrictions. U.S. Parole Comm’n v. Geraghty, 445

U.S. 388, 397 (1980) (mootness is “standing set in a time frame: The requisite

personal interest that must exist at the commencement of the litigation (standing)

must continue throughout its existence (mootness)” (cleaned up)).

      Plaintiffs’ Motion recognizes Policy 4.06 was amended in June and

September 2023 to comport with statutory changes effected through HB 1069.

Motion at 7-8. Although the books at issue were all challenged before then, id. at 19

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n.16, the Coordinator of Media Services independently determined under current

policy—pursuant to HB 1069—these books must be restricted. Vinson Decl. ¶ 39.

Because Plaintiffs seek to enjoin the Board for past decisions made under different

policies, Plaintiffs’ claims in this respect are moot. See Littlejohn v. Sch. Bd. of Leon

Cnty., 647 F. Supp. 3d 1271, 1275-76 (N.D. Fla. 2022) (finding plaintiffs’ claims for

injunctive relief stemming from outdated policy manual were moot given manual

had been amended).

      To the extent the defunct policy is at issue, Plaintiffs’ claims are not likely to

succeed because of Monell. Concerning the now defunct policy and practice,

Plaintiffs can identify no express policy supporting their alleged practice: the Motion

acknowledges the Board’s then-current policy was either silent on the issue or stated

challenged materials should remain on the shelves pending adjudication, unless

challenged on the basis they were pornographic or obscene. Motion at 6-7.

       Plaintiffs attempt to circumvent this by identifying an alleged short-lived

practice—only in existence from October to December 2022—in which challenged

books were immediately restricted. Id. at 9. This fails because: (1) none of the

Motion’s books were challenged during this period of time, id. at 16; and (2) the

Board’s policy changed in December 2022 to require challenged books generally

remain available during the pendency of challenges. Id. at 9.




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        The supposed change in practice in early 2023 to restrict books challenged on

the basis of House Bill 1557 (2022) in elementary school, id. at 10, is again

inapplicable because: (1) six of the books were challenged in 2022; and (2) the only

book challenged in 2023, Lady Midnight, is a middle and high school book.13 Vinson

Decl. ¶ 47. Plaintiffs cannot identify any practice which had the force of custom.

        That leaves ratification, which “exists when a subordinate public official

makes an unconstitutional decision and when that decision is then adopted by

someone who does have final policy making authority,” but requires ratification of

“not only the decision itself, but also the unconstitutional basis for it.” Matthews v.

Columbia Cnty., 294 F.3d 1294, 1297 (11th Cir. 2002) (citation omitted). The Board

has not reviewed its subordinates’ decisions. No final decision has been made on

these books, no Board vote has occurred, and therefore there is no ratification of the

decision to restrict these books. Moreover, Plaintiffs have not and cannot show the

Board ratified any unconstitutional bases for these books’ restrictions. In short,

Plaintiffs have identified no express policy these books were restricted under, no

working practice, and no act of ratification by the Board. They cannot show Monell

liability to the now defunct policy and practice(s).




13
  Plaintiffs’ evidence for this is a single email from the Board’s prior Coordinator of Media
Services sent in April 2023. A single email does not constitute official Board policy or practice.
Whether this constitutes official practice is a bitterly disputed fact necessitating an evidentiary
hearing.
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                ii. Plaintiffs Have Not Established Irreparable Harm

      “A showing of irreparable injury is the sine qua non of injunctive relief.”

Siegel, 234 F.3d at 1176 (cleaned up). “[T]he absence of a substantial likelihood of

irreparable injury,” “standing alone, make[s] preliminary injunctive relief

improper.” Id. “[T]he asserted irreparable injury ‘must be neither remote nor

speculative, but actual and imminent.’” Id. at 1176-77 (citation omitted).

      Plaintiffs’ delay in seeking injunctive relief demonstrates the lack of

irreparable harm. Of the seven books, five were challenged in August 2022, one in

September 2022, and one in March 2023. Motion at 16. These books have all been

subjected to various levels of restriction since at or around the time of their

respective challenge. Vinson Decl. ¶¶ 42-43, 48-49, 53-54, 58-59, 64-65, 69-70, 74-

75. Plaintiffs filed suit in May 2023. [D.E. 1]. From their initial pleading Plaintiffs

requested, as injunctive relief, the Board be enjoined from removing and/or

restricting access to certain books. Id. at 58.

      And during the hearing on the Board’s Motion to Dismiss, Plaintiffs’ counsel

argued:

      The books that we sued under, the -- obviously the ten removed books
      that are completely removed and 154 or 155 books that have been
      restricted -- those books, at least to some substantial set of them that we
      believe do not have sexual content in them, sexual depict -- anything
      depicting sexual conduct and that they are still being restricted, and
      they’re still being restricted for -- and, for example, one of our


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          plaintiffs’ books, Uncle Bobby’s Wedding, which is Plaintiff Sarah
          Brannen, it is -- it is a picture book.14

[D.E. 66 at 54:11-54:20].

          Yet, Plaintiffs only now—nearly 14 months after initiating litigation—

actually moved for a preliminary injunction against the Board, and only for seven

books despite statements a “substantial set of them” do not have sexual content.

Plaintiffs’ dilatory actions in seeking injunctive relief is cause for their Motion to be

denied. See Cousins v. Sch. Bd. of Orange Cnty., 636 F. Supp. 3d 1360, 1382 (M.D.

Fla. 2022) (“[T]he Eleventh Circuit has clearly stated that such delays in seeking

injunctive relief militate against a finding of irreparable harm.”); see also Wreal,

LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016) (upholding district

court’s finding that plaintiff’s “unexplained five-month delay in seeking a

preliminary injunction, by itself, fatally undermined any showing of irreparable

injury” and collecting cases); cf. Dow Jones & Co. v. Kaye, 256 F.3d 1251, 1257-58

(11th Cir. 2001) (vacating injunction as moot and noting plaintiffs “did not respond

quickly” to challenged action and “waited a year and a half before filing for

injunctive relief in federal court”). This presumption towards finding a lack of

irreparable harm in the face of unexplained delay applies towards constitutional

claims. E.g., People’s Party of Fla. v. Fla. Dep’t of State, Div. of Elections, 608 F.



14
     Uncle Bobby’s Wedding is currently unrestricted. Motion at 11 n.6.
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Supp. 3d 1195, 1199 (M.D. Fla. 2022) (applying Wreal to constitutional and First

Amendment claims).

      Plaintiffs have “failed to offer any explanation for [their] [14]-month delay,”

which cuts against “the very idea of a preliminary injunction [as it] is premised on

the need for speedy and urgent action to protect a plaintiff’s rights before a case can

be resolved on its merits.” Wreal, 840 F.3d at 1248. This Court has, in other contexts,

stated that because “Plaintiffs have not moved quickly to this point,” this “is a factor

in considering the equities.” Eq. Fla. v. DeSantis, Order on Stay of Discovery, No.

4:22-cv-00134-AW-MJF, ECF No. 89 (N.D. Fla. July 21, 2022). This Court can,

and should, consider Plaintiffs’ unexplained delay as cutting against any claim of

irreparable harm.

      Moreover, that Plaintiffs only move for a preliminary injunction on behalf of

7 of the “154 or 155 books that have been restricted” further indicates the harm is

not irreparable. By implication, Plaintiffs agree the purported harm in restricting 148

books can be remedied at the end of this litigation. Plaintiffs offer no explanation as

to why the determination on these seven books cannot wait.

               iii. The Balance of Harms and Public Interest Do Not Favor
                    Plaintiffs

      “[T]he balance-of-the-harms and public-interest factors . . . ‘merge’ when, as

here, ‘the Government is the opposing party.’” Swain v. Junior, 961 F.3d 1276, 1293

(11th Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). Plaintiffs have
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not established irreparable harm; the Board, meanwhile, is “responsible for the

content of all materials made available in a school library.” § 1006.28(2)(a)1., Fla.

Stat. (cleaned up). “The ‘inability to enforce its duly enacted [laws] clearly inflicts

irreparable harm on the State.’” See People’s Party, 608 F. Supp. 3d at 1199

(alteration in original) (quoting Abbott v. Perez, 585 U.S. 579, 602 n.17 (2018)).

      The balance of harms weighs in the Board’s favor. Swain v. Junior, 958 F.3d

1081, 1090-91 (11th Cir. 2020). Under Florida law, “public officials are obligated

to obey the legislature’s duly enacted statute until the judiciary passes on its

constitutionality.” Sch. Dist. of Escambia Cnty. v. Santa Rosa Dunes Owners Ass’n,

274 So. 3d 492, 494 (Fla. 1st DCA 2019). An injunction would cause the Board

irreparable harm by forcing it to deviate from Florida law it must follow.

      Further, a preliminary injunction’s purpose is to preserve the status quo until

the controversy’s merits can be fully adjudicated. Robinson v. Att’y Gen., 957 F.3d

1171, 1179 (11th Cir. 2020). An injunction would disturb this status quo: these seven

books have not been fully reviewed by the Board; any intervention by the Court

would short-circuit the Board’s statutory process and unnecessarily restrain its

ability to comply with its legal duties. This is not in the public interest, which is best

served by allowing elected officials—like the Board—to carry out their

constitutional and legal duties uninhibited. Plaintiffs’ Motion should be denied.




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   III.   OBJECTIONS TO PROFFERED EVIDENCE

      If an evidentiary hearing is not ordered, the Board lodges the following

evidentiary objections to Plaintiffs’ proffered evidence.

      Specifically, the Board objects to the Declaration of Ori Lev, [D.E. 87-1], to

the extent it includes hearsay from Board counsel. Mr. Lev’s summaries of

discussions with counsel is unauthenticated hearsay not supported by any verified

discovery response. Mr. Lev’s description of what counsel told him is inadmissible

evidence. See [D.E. 87-1 ¶¶ 9, 12, 14, 15].

      In addition, the Board objects to Mr. Lev’s summaries of various documents

because they are inadmissible under Federal Rule of Evidence 1006. See id. ¶¶ 8, 11,

13, 14.

      WHEREFORE, Defendant, Escambia County School Board, requests the

Court deny Plaintiffs’ Motion for Preliminary Injunction, and for any further relief

this Court deems just and proper.

                      CERTIFICATE OF WORD COUNT

      The undersigned certifies that this Motion complies with the word count

limitation set forth in Local Rule 7.1(F) because this Motion contains 7,995 words,

excluding the parts exempted by said Local Rule.




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                              Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 31, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

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